Case 8:12-cr-00097-JSM-TGW Document 93 Filed 07/12/13 Page 1 of 4 PageID 352




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

MARINO PEREZ ESCOBAR,

      Petitioner,

v.                                                        Case No: 8:13-cv-55-T-30TBM
                                                         Crim. Case No: 8:12-cr-97-T-30TBM
UNITED STATES OF AMERICA,

      Respondent.


                                        ORDER


      THIS CAUSE comes before the Court upon the Petitioner’s Motion to Vacate, Set

Aside, or Correct Sentence, Pursuant to 28 U.S.C. § 2255 (Dkt. #1) and Respondent’s

Response (Dkt. #6). Escobar asks for his conviction to be vacated claiming that this

Court lacked jurisdiction, and his lawyer was ineffective for failing to investigate and

argue lack of jurisdiction. The motion is based on United States v. Bellaizac-Hurtado,

700 F. 3d 1245 (11th Cir. 2012).

      In Bellaizac-Hurtado, the Eleventh Circuit held that Congress did not have the

power to criminalize conduct in foreign countries and their territorial waters. Bellaizac-

Hurtado specifically addressed the drug laws of the Maritime Drug Law Enforcement

Act (MDLEA), 46 U.S.C. § 7501 et seq.. The United States recognizes territorial seas of

foreign nations up to twelve nautical miles adjacent to foreign coasts. See U.S. v.

McPhee, 336 F. 3d 1269, 1273 (11th Cir. 2003). Seas beyond the twelve nautical miles

from a foreign coast are international waters. The MDLEA is constitutional as applied to
Case 8:12-cr-00097-JSM-TGW Document 93 Filed 07/12/13 Page 2 of 4 PageID 353




defendants apprehended in international waters. U. S. v. Tinoco, 304 F. 3d 1088 (11th

Cir. 2002), cert. denied, 538 U.S. 909, 123 S. Ct. 1484 (2003).

       Petitioner was apprehended in international waters, not territorial seas. In his plea

agreement (CR Dkt. #22), Perez-Escobar admitted the following facts:

              9.     Factual Basis

              Defendant is pleading guilty because defendant is, in fact, guilty.
       The defendant certifies that defendant does hereby admit that the facts set
       forth below are true, and were this case to go to trial, the United States
       would be able to prove those specific facts and others beyond a reasonable
       doubt:

       FACTS

               On March 2, 2012, the defendant, Marino Perez-Escobar, along with
       two co-defendants, was aboard a “go-fast vessel” (GFV) encountered by U.
       S. Coast Guard cutter CONFIDENCE in international waters of the
       Caribbean Sea. CONFIDENCE was guided to the defendants’ GFV by a
       United States aircraft, which first spotted the GFV and observed the
       defendants jettisoning numerous packages into the water. The packages
       jettisoned from the GFV contained cocaine (in excess of 5 kilograms) and
       marijuana.

              When asked by Coast Guard officers from CONFIDENCE, none of
       the defendants claimed to be the master of the vessel and none made a
       claim of nationality for the vessel. The GFV was, therefore, a stateless
       vessel subject to the jurisdiction of the United States.

             The defendant, along with his co-defendants, was later transported to
       the United States, first arriving in the Middle District of Florida.

       Bellaizac-Hurtado does not apply to Petitioner because, as he admitted, he was not

located within the territorial seas of a foreign country.

       As to Escobar’s ineffective assistance of counsel claims, even if it is assumed his

counsel did not investigate jurisdiction, the claims fail because Escobar has not shown
Case 8:12-cr-00097-JSM-TGW Document 93 Filed 07/12/13 Page 3 of 4 PageID 354




prejudice. He has come forward with no proof that he was anywhere other than where he

originally admitted to being apprehended. He cannot now refute the admission in his

plea agreement that he was apprehended in international waters. And, as the Government

has shown by filing the certification of Commander Daniel Deptula, United States Coast

Guard, in his official capacity as the Coast Guard Liaison Officer to the Bureau of

International Narcotics and Law Enforcement Affairs, U.S. Department of State:

         4.a. On March 2, 2012, United States law enforcement personnel
         detected a go-fast vessel approximately 31 nautical miles northwest of
         Cape La Vela, Colombia, international waters, with three individuals on
         board. The vessel was not displaying any registry numbers, a hailing port
         or flying a national flag. Upon detection, the go-fast crew members were
         observed jettisoning packages overboard. United States law enforcement
         personnel conducted a right-of-visit boarding to determine the vessel’s
         nationality. One crewmember claimed to have departed from Colombia but
         provided no registration documentation.

CR Dkt. #92 at 2 (emphasis added). The ineffective assistance of counsel claims lacks

merit.

         It is therefore ORDERED AND ADJUDGED that:

         1.    Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence, Pursuant to

28 U.S.C. § 2255 (Dkt. #1) is DENIED.

         2.    The Clerk is directed to close this case.

         3.    The Clerk is directed to terminate the pending motion to vacate, set aside or

correct sentence (CR Dkt. #85) in the related criminal case (8:12-cr-97-T-30TBM).
Case 8:12-cr-00097-JSM-TGW Document 93 Filed 07/12/13 Page 4 of 4 PageID 355




                    CERTIFICATE OF APPEALABILITY AND LEAVE TO
                         APPEAL IN FORMA PAUPERIS DENIED

         IT IS FURTHER ORDERED that Petitioner is not entitled to a certificate of

appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to

appeal a district court’s denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district

court must first issue a certificate of appealability. Id. “A certificate of appealability

may issue … only if the applicant has made a substantial showing of the denial of a

constitutional right.” Id. at § 2253(c)(2). To make such a showing, Petitioner “must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004)

(quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)), or that “the issues presented were

‘adequate to deserve encouragement to proceed further.’” Miller-Elv v. Cockrell, 537

U.S. 322, 335-36 (2003)(quoting Barefoot v. Estelle, 463 U.S. 880, 893 n. 4 (1983)).

Petitioner has not made the requisite showing in these circumstances.

         Finally, because Petitioner is not entitled to a certificate of appealability, he is not

entitled to appeal in forma pauperis.

         DONE and ORDERED in Tampa, Florida, this 12th day of July, 2013.




Copies furnished to:
Counsel/Parties of Record
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